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                                   4                                UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                        MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                         Case No. C-07-5944 JST

                                   9                                                         ORDER GRANTING MOTION TO
                                        This Order Relates To:                               STRIKE FILING BY OBJECTOR SEAN
                                  10                                                         HULL
                                  11    ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13          On January 7, 2016, the Court issued one of several scheduling orders in this case, ECF

                                  14   No. 4286, resetting the deadline for objections to the then-upcoming Report and Recommendation

                                  15   (“R&R”) (now available at ECF No. 4351) to February 12, 2016 and the deadline for oppositions

                                  16   to February 23, 2016. ECF No. 4286 at 2. The order expressly amended the prior scheduling

                                  17   order, dated November 12, 2015. ECF No. 4185. On February 23, 2016, the Court struck certain

                                  18   objections, but allowed the stricken objections to be refiled by February 26, 2016. See ECF No.

                                  19   4430 at 2. The Court also extended the deadline for any response by Lead Counsel for the Indirect

                                  20   Purchaser Plaintiffs (“IPPs”) to March 2, 2016. Id.

                                  21          IPPs filed a timely response. ECF No. 4449. Objector Sean Hull then filed a reply brief

                                  22   without leave of court. ECF No. 4465. IPPs now ask the Court to strike objector Hull’s response

                                  23   as untimely. ECF No. 4475.

                                  24          The IPPs are correct that Objector Hull’s reply is untimely. The IPPs’ motion to strike is

                                  25   therefore GRANTED.

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                                         Case 3:07-cv-05944-JST Document 4481 Filed 03/11/16 Page 2 of 2




                                   1         IT IS SO ORDERED.

                                   2   Dated: March 11, 2016
                                                                            ______________________________________
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                                                                                          JON S. TIGAR
                                   4                                                United States District Judge

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Northern District of California
 United States District Court




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